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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Peanuts Worldwide LLC
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:20−cv−07279
                                                                    Honorable Mary M.
                                                                    Rowland
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 13, 2021:


        MINUTE entry before the Honorable Mary M. Rowland: Plaintiff's motion for
entry of default and default judgment against all remaining defendants [48] is granted.
Enter Final Judgment Order. Civil case terminated. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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